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MCDONALD’S CORPORATION PLAINTIFF CONSENT FORM

I hereby consent to join the action entitled Justison et al., v. McDonald’s Corp., Case No.
1:08-cv-00448-JJF, against McDonald’s Corporation (“McDonald’s”) as a plaintiff to assert
claims for overtime pay arising out my employment at McDonald’s, pursuant to the Fair Labor |

Standards Act, 29 U.S.C. §§201, et seq.

- Lwork/worked for McDonald’s as an Assistant Manager from Apri ( 72, 200? through

 

Sepbenier v L{_, 2007}. I attended an initial training period during this time. During my initial

training period, I worked over 40 hours per week for McDonalds and did not receive overtime

compensation.

Thereby designate the Law Offices of Timothy J. Wilson, Berger & Montague, P.C., and
Schneider Wallace Cottrell Brayton Konecky LLP to represent me for all purposes in this action.

- Fax, Mail or Email to:

Vos Ep Wh. CMY SL.

Name

ZU6e Wiyrel UAver dE-
NEWARK DE 19782

Address
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Telephone Numbers

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Email Address —

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Last li Lig of Social Security Number

Minty Fide Dap 3b - br-/40B

Emergency Contact (in case we lose contact)

Shanon Carson, Esq.

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